Case 2:02-cr-14084-KAM Document 60 Entered on FLSD Docket 10/20/2005 Page 1 of 2



  1   UNITED       STATES DISTRICT COURT
                     SOUTHERN DI STRICT OF FLORIDA

                                                               r-1! ED ;.y   D .C .
                                                               APPEAL S


                                                                  U.1 07 ~ ;~
  4 UNITED STATES OF AMERICA,


  5
                       Plaintif f,
  6

       vs .



       JOHN MACARI (B) ,



                        Defendant .


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  2       SENTENCING

  3 The above-entitled cause came on for hearing

  4 before the Honorable Kenneth A . Marra, District Court

  5 Judge, pursuant to notice .

  6  2 :00 P .M . - 4 :50 P .M .
      September 16, 200 5
  7 United States Courthouse
      299 E . Broward Boulevard
  8 Fort Lauderdale, Florid a



      APPEARANCES :
  0 Appearing on behalf of the Plaintiff :
              JAMES G . McADAMS, III, ESQ . ,
  1    Assistant            U .S . Attorney (772) 466-0899
      Appearing on behalf of the Defendant :
  2 RICHARD G . LUBIN, ESQ ., (561) 655-204 0




       COURT REPORTER :      ANDREA        J . STEFANICK, RM R
  5    OFFICIAL             REPORTING                SERVIC E



               OFFICIAL REPORTING SERVICE ,    INC . (954 )   467-8204          /~Ll
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Case 2:02-cr-14084-KAM Document 60 Entered on FLSD Docket 10/20/2005 Page 2 of 2

            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF FLORID A

             CASE NO . 02-14084-CR KAM
                        DE#6 0

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